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Clerk Of The Court
United States Courthouse

  
  

  
 
 

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Thoms. D. Lamb Fed Bid.

Youngstown, OH 44503-1780

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